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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF VIRGINIA

                               Alexandria Division

____________________________________
                                    )
UNITED STATES OF AMERICA,           )
                                    )
      vs.                           )      Case No. 1:10-cr-00485-LMB
                                    )
JEFFREY ALEXANDER STERLING, )
                                    )
      Defendant.                    )
____________________________________)


                 DEFENDANT, JEFFERY STERLING’S REPLY
             TO THE RESPONSE OF THE UNITED STATES TO THE
              DEFENDANT’S FOURTH CIPA SECTION 5 NOTICE


                         [ORIGINAL FILED UNDER SEAL ]



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